Case 19-13121-KHK        Doc 53     Filed 10/30/19 Entered 10/30/19 17:59:43             Desc Main
                                    Document     Page 1 of 2


                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

IN RE:                                                       )
                                                             )
BLUEPOINT MEDICAL ASSOCIATES, LLC,                           )        CASE NO. 19-13121-KHK
                                                             )        CHAPTER 11
Debtor.                                                      )

                          NOTICE OF EXPEDITED HEARING
                         ON MOTION TO ALTER OR AMEND
                    ORDER PERMITTING USE OF CASH COLLATERAL

       Atlantic Union Bank has filed a motion (DK 44) (the "Motion") with the court to alter or
amend the Court's Order Permitting Interim Use of Cash Collateral and Dismissal of
Garnishment in State Court (the "Cash Collateral Order") (Dk 35) and the Court has entered its
Order granting an expedited hearing on the Motion.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.)

        If you do not want the Court to grant the relief requested in the Motion, or if you want the
Court to consider your views on the Motion, you or your attorney will be heard by the Court on
Tuesday, November 5, 2019 at 1:00 p.m. in Courtroom III, United States Bankruptcy Court,
Eastern District of Virginia, Alexandria Division, 200 South Washington Street, Alexandria, Virginia
22314. Written Objections prior to the hearing are waived. Oral objections may be made at the
above-referenced hearing.

        You must attend the hearing scheduled to be held on Tuesday, November 5, 2019 at 1:00
p.m. in Courtroom III, United States Bankruptcy Court, Eastern District of Virginia, Alexandria
Division, 200 South Washington Street, Alexandria, Virginia 22314.

       If you or your attorney do not attend the hearing, the Court may decide that you do not
oppose the relief sought in the motion and may enter an order granting that relief.

                                              ATLANTIC UNION BANK
                                              By Counsel
/s/ Joel L. Dahnke
Joel L. Dahnke, Esquire PLC
11350 Random Hills Road, Suite 700
Fairfax, VA 22030
Attention:     Joel L. Dahnke, Esq.
Telephone:     (703) 273-1009
Facsimile:     (703) 997-5908
Email:         joel@dahnkelaw.com
Counsel for Atlantic Union Bank
Case 19-13121-KHK         Doc 53     Filed 10/30/19 Entered 10/30/19 17:59:43              Desc Main
                                     Document     Page 2 of 2


                                   CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing will be filed with the United States
Bankruptcy Court electronically in the CM / ECF system. Notice of the filing will be sent to all
parties in the CM / ECF system for this case by operation of the Court's electronic filing system,
including to the following:

John T. Donelan, Esquire
Law Office of John T. Donelan
125 S. Royal Street
Alexandria, Virginia 22314-3327
Email: donelanlaw@gmail.com
Counsel for Debtor

Robert M. Marino, Esquire
Redmon Peyton & Braswell, LLP
510 King Street, Suite 301
Alexandria, Virginia 22314
Email: rnmarino@rpb-law.com
Counsel for Phillips Medical Capital, LLC

Office of the U.S. Trustee
1725 Duke Street, Suite 650
Alexandria, Virginia 22314

Additionally, I have emailed notice to the above parties and to: Gordon Stewart Young, Esq. at
Gordon.young@lf-pc.com; John C. Morgan, Jr., Esq. at rhonda@newdaylegal.com; Byron L.
Saintsing, Esq. at bsaintsing@smithdebnamlaw.com; John P. Fitzgerald, III at
ustpregion04.ax.ecf@usdoj.gov; Jack Frankel, Esq. at jack.i.frankel@usdoj.gov; Joseph A.
Guzinski, Esq. at joseph.a.guzinski@usdoj.gov.

                                                       /s/ Joel L. Dahnke




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